
KELLUM, Judge,
concurring specially.
I write specially to note that this action appears to be Mitchell Marbur/s fifth Rule 32, Ala. R.Crim. P., petition challenging his 2001 conviction for first-degree robbery and his resulting sentence of life imprisonment without the possibility of parole. I believe that allowing Marbury to file multiple petitions for postconviction relief in which his claims are either precluded or without merit wastes scarce judicial resources. Therefore, I would encourage the circuit court to consider adopting sanctions like those proposed in Peoples v. State, 531 So.2d 323 (Ala.Crim.App.1988), and Procup v. Strickland, 792 F.2d 1069 (11th Cir.1986), to prevent future frivolous litigation on the part of Marbury and other similarly situated inmates. See Ex parte Thompson, 38 So.3d 119 (Ala.Crim.App.2009).
